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                                                                      FILED BY 0--9 ts          D.C.

                             UM TED STATES DISTRICT CO                 T    Ngy 1s 2,1,
                             SO U T H ER N D ISTR IC T O F FL O        A
                                                                            %72l    i%7CK'
                                                                             S.D.0FFG .-W.RB.
                                                   Case N o:

D M TRI PA TTER SON ,                              D EM A N D FO R JU R Y TR IA L
              Plaintiff,

                                                   V E R IFIED C O M PLA IN T FO R
      VS.                                          D AM A G E S A N D INJIJN C TIV E
                                                   R E LIE F
                                                   4* A M EN D M EN T
Pam ela B ondi                                     5 > EN D M EN T
               D efendant,                         8
                                                   13
                                                    11
                                                     O
                                                     1AMMENDMENT
                                                        ENDMENT
                                                   14TH A M EN D M EN T

                                                   42al
                                                   M  V. j.C.1986
                                                       lclous Prosecution
                                                   A buse ofProcess




                                         IN TR ODU CTION

       1.      Tllis case hw olves a private citizen,D iinitriPattersonohereinafterD P,
            whose dueprocesshasand conthm esto be strategically violated and obstructed
            by state oftk ialstmderthedirectauthority ofAttom ey GeneralPam elaBondi,
            through the abuse ofher executive pow erto oppressD P's due process and
            cause irreparable hnrm . D P has exhausted every adm iniskative and legal
            rem edy available to him beforè sling this instantaction,and has been faced
            w ith deliberate indifference atevery level.D P is leftw ith no otheravailable
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       rem edy butto petition this Courtto stand asa bulwark to preventthenam ed
       D efendantin tltisCom plaint9om conthm ing to violate hisdue processrights.


  2.      D efendant,Pam ela Bondiiscurrently spearheading false prosecution against
       DP and theIm lawfuldetention ofDP atthe OrangeCounty Jailin Orlando,FL,
       and currently atthe Tum erGuilford KnightCorrectionalCenterin M iam i,FL.
       The invidiousschem ehereisto derailthePlaintiff9om rightfully pursuing
       prosecution againstherpeers in federalcases Patterson v.M iam i-D ade Cotmty
       ET AI.,U S CourtSouthem DistdctofFlorida,18-CV-20878-M GC,and
       Patterson v.O rlando O range County ET AI-,6:18-CV -950-CEM -G JK ,U S
       CourtM iddle D istrictofFlorida.


          Pam ela B ondi's sole intention isto coerce D P into retaining an attom ey on a
       non-existing case,by using lm law fuldetainm entasherprim ary toolfor
       coercion,so thatshe can falsely prosesute DP by using theLogan v.State
       doctrine.DP willcontinueto exercisellisConstitutionalRightand w illnever
       retain an attom ey.


  4.      The factualallegations stated hzthe C om plaintherein,show s a pattem of
       practicethatsystem ically violatesthe Plaintiffsand A frican Am ericans'rights
       (Protected class),whom notonly havebeen victimsofexcessivefotceand
       wrongfularrestsby law enforcem entoo cers,buthave also been discrim inated
       againstdudng courtproceedings asw ell.
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                                     JUR ISD IC TIO N


  5.      ThiscourthasJurisdiction tmder28U.S.C.j 1331,j 1343.'l'
                                                                lzisaction is
       broughtpursuantto the 4*; 5th5 8th' 13th5 and 14thAm endm entsofthe United
       StatesConstitution,42 U.S.C.j 1986.

                                     V E N UE


  6. Venueisproper,pursuantto28U.S.C.j 1331,28U.S.C.j 1343,and28
    U.S.C.j 1391,becausetheeventsgivingrisetothiscomplaintoccurred in this
       district.
                                     PA R TIE S


  7.      D im itriPatterson isaprivate U .S.citizen who hasclearly established
       constitutionalprotected rightsguaranteed to him by the U nited States
       C onstim tion.


  8.      Pam ela B ondiisthe currentA ttom ey G eneralforthe State ofFlorida who is
       being sued in herindividualcapacity.


                             A TT O R N EY G EN E R AL D U TIE S
                        ConstitutionilD utiesoftheA ttorney G eneral


  9.      The revised C onstitution ofFlorida of 1968 sets outthe duties ofthe
       Attom ey Generalin Subsection (c),Section 4,ArticlelV,as:it...theclziefstate
       legalofscer.''
       By statute,the Attom ey Generalishead ofthe Departm entofLegalAffairs,
       and superd sesthe follow ing functions:
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     Servesaslegaladvisorto the Govem orand otherexecutive oftk ers ofthe State
     and stateagencies.
     Defendsthe public interest.
     Representsthe Statein legalproceedings.
     Keepsarecord ofllisorheroffk ialactsand opinions.Servesasa reporterfor
     the Suprem e Court.


   NO TIFICA TIO N OF CON SPM         CY A ND CIW L RIGH TS W OLA TION S


  10.     ln October2018,Pam ela Bondiwasnotifed ofapup orted w arrantentered
     intotheFDLE Database.lExhibitB)

  11. OnNovember6,2018,èamelaBondiwasnotifiedbytheThirdDistrict
     c ourtofA ppeals ofa W ritofH abeas Cop us and a W dtof
     ProhibitionN andam us filed againstJudge O scarRodriguez-Fontsand the
     M iami-DadeCorrectionsandRehabilitationDepnkmentbyDP.fExhibitB)

  12.     On N ovem ber8,2018,Pam ela Bondiwasnotifed by theFlorida Suprem e
     Courtofa W ritofProllibitionN andam usfiled againstJudge OscarRodriguez-
     FontsbyDP foracting in clearabsenceofjurisdiction.fExhibitB)

          On N ovem ber23,2018,Pam ela B ondiw as notised ofthe tm law ful
     detainmentofDP attheTllrnerGuilfordKnightCorrectionalCenter.(Exhibit
     B)

  14.      On N ovem ber24,2018,Pam elaBondiwasnotifed oftheulzlawful
     detainmentofDP attheTurnerGuilfordKnightCorrectionalCenter.fExhibit
     Bl
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  15.     O n N ovem ber 25,2018,Pam ela B ondiw asnotiled ofthe unlaw ful
     detainmentofDP attheTurnerGuilfordKnightCorrectionalCenter.(Exhibit
     Bl

                             STATEM EN T OF FACTS


  16.     O n N ovem ber23,2016 at8:00 p.m .,seven Police O fficers 9om the
     Orlando-orange County SherriffsDepartm entappeared atthePlaintiffs
     m other'shom ew ith the intentto violently acton purported warrantinform ation
     entered in theFloridaD epartm entofLaw Ee orcem entDatabase.ThePlaintiff
     placesa phone calltothe Orlando Orange-county SherriffsDepnrtment
     notifying them ofthe harassm ent.The com plaintwasdisregarded.


  17.      On N ovem ber23,2016,thePlaintiffsbrotherwasasked to step outside
     ofthe hom e and handcuffed forno legalreason and withoutany evidence ofan
     om cialwarrant.


  18.      On N ovem ber23,2016,thePlaintiffs sisterasksto see the wazrantand
     one ofthe O ftk ersrespondsby stating,ççW e need him to com e down the street
     where ourcarsare parked,and then we can show the warrantto h1
                                                                 'm ''.Fam ily
     m em bersofthe Plaintiffproceeded to dem and docum entation from the rogue
     Officers.Aqerrepeated dem andsâom the fam ily m em bers,the handcuffswere
     rem oved 9om thePlaintiffsbrother,and thereafter,the Officer'sleftthe
     Plaintiffsm other'shom e.


  19.      O n February 11,2018,D eputy M .Shaheed,Badge #2915 ofthe O rlando-
     O range C ounty Sheriff s D eparM ent,pullsthe Plaintiff sbrother over in
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     Avalon Park,FL 32828.W hen thePlaintiffsbrotherpullsoverto the side of
     theroad,D eputy Shaheed proceeded to callforback up.Deputy Shaheed then
     approachesthevehicleto question thePlaintiY sbrotheraboutthePlaintic s
     whereabouts.W hile questioning thePlaintiffsbrother,fourvehicles9om the
     O rlando-o range Cotmty Shedfl's D epartm entappearatthe scene.Several
     Oftk ersproceeded to approach the vehicle.Once the Oftk ersrealized thatthe
     Plaintiffw as notin the vellicle,the O x cersabruptly leA the scene.D eputy
     Shaheedthen issuesacitation tothePlaintiY sbrother.fseeExhibitA)

  20.     On October 16,2017,two Officers9om the Orlando-orange Cotmty
     SheriY sOfsce stakeoutthePlaintiY sm other'shom ewith theintentto stalk
     andharassthePlainttE

  21.      Between October2017 and Jtm e2018,thePlaintiffreceived reports9om
     neighbors and fam ily m em bers thatO ftk ers 9om the O rlando-orange C otm ty
     Sheric sOffcerepeatedly staked outthe Plaintiffsm other'shom e with the
     intentto harassand violatethe Plaintifrscivilliberties.


  22.      Between April30,2018 and M ay 7,2018,U .S.M arshalsand undercover
     Oftk ers9om the Orlando-orange County SherriY sOfsce harassand stalk
     Plaintiff s brotherby follow ing llim to and 9 om lzisplace ofem ploym ent
     (FloridaHospital).

  23.       On April30,2018,between 9:15 and 9:30A .M .,aU .S.M arshaland
     undercoverOfticers9om the Orlando-orange County SheriffsOftk e aniveat
     B ank of Am erica located at 10201 W .ColonialD r.,O coee,FL 34761,to
     harassand stalk thePlaintifFsfam ily m em bers.
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  24.      On April30,2018,each in unm arked vehicles,aU .S.M arshaland five-
     to-six undercover O Y cers 9om the O rlando-o range County SheriY s O o ce,
     follow the Plaintiffs fam ily m em bers 9om B ank ofA m erica in O coee,FL onto
     the408 EastY estExpressway,and then proceededto pullthePlaintiffs
     brotheroveratExit10A on the 408 EastY estExpressw ay heading east.


  25.      On April30,2018,an undercoverOffk er9om the Orlando-orange
     County Sheriff sOflk e approached thePlaintiffsbrother'svehicle and states,
     t&W hereisDim itri'? ThePlaintiY sbrotherrespondsby asking the Officerwhy
     washe being pulled overand ifhewastm derarrest.TheO fdcerresponds
     stating,çtW e'ie conducting an investigation,and w eneed to ask you a coupleof
     questionsaboutDim itrp'.ThePlaintiffsbrotherrespondsstating thathew asn't
     tellhv thetmdercoverOffkeranythingaboutthePlaintiftland ifthey weren't
     arresting him ,he should be allowed to leave.TheundercoverOo certhen
     respondsstating,&&D o you know it'sa crim e aiding and abetting a fugitive?''


  26.      On April30,2018,thePlaintiffplacesa 911 calltothe Orlando-orange
     C otm ty Police D epartm entto reportthe illegalharassm entofllis brotherby
     rogue undercoverPolice O ftk ers and a U .S.M arshal.


  27.      On April30,2018,five m inutesafterthe 911 callwasplaced by the
     Plaintiff,an undercoverOftk ercom mllnicated to the Plaintiffsbrotherthathe
     w as9ee to leave,and the rogue U .S.M arshaland undercoverPoliceOftk ers
     leftthe scene.


  28.      On M ay 3,2018,thePlaintiffand hisgirlgiend,K athy Thabet,checked
     into the W aldorfA storia H otel.
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  29.      On M ay 7,2018,thePlaintiffiskidnapped 9om theW aldorfA storia
    H otel'spoolbathroom ,located at 14200 B orm etCreek R esortLn,O rlando,FL
     32821,by twonon-uniform ed U .S.M arshalsand eightnon-llniform ed
     Orlando-orange Cotmty Police Ox cers.The roguenon-uniform ed U .S.
     M arshalsand non-uniform ed Police Officersneverpresented a valid warrantor
     adheredtotheUlziform CriminalExtradition Act.(Video footageisavailablej

  30.      O n M ay 7,2018,after physically accosting the Plaintiffilza pool
    bathroom ,and then kidnapped 9om theW aldorfA storiaH otel,thenon-
     ulliform ed U .S.M arshalsand the non-tm iform ed Orlando-orange County
     PoliceO x cersproceeded to takethePlaintiffto a sectu'ity video room inside
    thehotelwheretherew ereotherW aldorfA storia em ployeçs.


  31.      O n M ay 7,2018,w lzile the Plaintiffw as being attacked in the pool
     bathroom ,M attReabeau proceeded to shutthe entranceoff9om thepool
     bathroom topreventM s.Thabet9om entering aûerhewasrepeatedly being
     notified thatan illegalarrestw as tnking place in the poolbathroom .


  32.      On M ay 7,2018,M attRebeau,an em ployee ofthe W aldorfA storiawho
     diligently and zealously assisted the non-uniform ed rogue U .S.M arshalsand
     non-uniform ed Orlando-orange County SheriY sPolice Offk erswithoutproof
     ofavalid warrantstates,lçN otin here.W e have to take him outback''.Thenon-
     llniform ed M arshalsand non-uniform ed Police Offcersproceeded to hold the
     Plaintiffhostage outsidein theparking lotbehind the hotel,while handcuffed
     on the ground between tw o parked lmm arked vehicles.


  33.      On M ay 7,2018,when congonted by Kathy Thabetaboutthekidnapping
     ofthePlainti/ Chr
                    J
                      istopherKost,M anagerattheW aldorfAstoriastatedthathe
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     knew nothing abouttheincidentand had no docum entation from thenon-
     uniform ed rogue U .S.M arshals,or,the non-tm iform ed rogue Orlando-orange
     County PoliceO fticers.


  34.      On M ay 7,2018,the Plaintiff,whilehandcuffed,repeatedly asked to see
     a valid warrantand badge identifcation num bers9om the non-tm iform ed U.S.
     M arshalsand non-uniform ed Police Ofscers.Therequired legaldocum entation
     wasneverpresented.


  35.      On M ay 7,2018,an Orlando-orange Cotmty SheriffsDepm m ent
     vehicle appearsw ith one Police O m cerin the driver's seat.The non-uniform ed
     U .S.M arshalsandnon-lmiform ed Police Offcersproceeded to escortthe
     Plaintifftothe Offk er'svelnicle.


  36.      On M ay 7,2018,the Orlando-o range Cotmty Police O fscertransports
     the Plaintiffto the Orlando-orangeCotmty Jail,and proceeded to book the
     Plaintiffw ithoutpresenting a valid w arrantto the PlaintiE


  37.      On M ay 8,2018,Orlando-orange County Judge,JeanetteBigney,issues
     an illegalbondforonehtmdred fifty thousand (150,000.00)dollarsfor
     pup orted case8-15-34548 with thepurported chargesofRrule to show cause''
     and EEcontemptofcouxf',w ithoutverifying avalid w arrantpursuantto Florida
     RulesofCriminalProcedure3.121and 3.131().JudgeBigney thenproceedsto
     state ttl've verified thattheintbrm ation on tlliscase isvalid,allyou have to do
     ispostthe $150,000.00 bond and you willbereleased.There isnothing
     further''
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  38.      On M ay 8,2018,follow ing JudgeBigney'sbond hearing,the Orlando-
     Orange County Jailrefusesto releasethePlaintiffand illegally detainshim on a
     ûino bond''hold withoutthe legalchain ofdocum entation.


  39.      On M ay 8,2018,thePlaintiffsm otherand M s.Thabetretain the services
     ofA lgedo Zam ora oftheZam oraLaw Firm,LLC in Orlando,FL,forthe
     pup ose ofgetting thePlaintiffreleased afterbeing illegally detained.


  40.      On M ay 8,2018 at3:20 A.M .,M s.ThabetnotifiesCornita Riley,
     Directorofthe Orlando-orange County D epartm entofCorrectionsviaem ail,
     m aldng heraware ofthe Plaintiffbeing illegally detained.The Plaintiffs
     m other also em ails ChiefCornita R iley at7:03 A .M .on M ay 8,2018,irlform ing
     herofthePlaintiffbeing illegallyreceived and detained.(SeeExhibitC)

  41.      On M ay 9,2018,M iam i-D ade County CorrectionalOffcers9om the
     TunzerGuilfordKnightCorrectionalFacility (TGK),transportsthePlaintiff
     9om the Orlando-orange County Jailto TGK withoutadhering to theUniform
     Crim inalExtradition A ct.


  42.      O n M ay 9,2018,TGK illegally receivesthe Plaintiffw ithouta valid alias '
     capiaswarrant,or,comm itm eptorder,then detainsthePlaintiffin
                                                                 1
                                                                   24-hour
     solitary confnem entin thepsych ward forthree days.


  43.      O n M ay 10,2018,a TGK C orrection O fficer approachesthe Plaintiffs
     celltelling him thathe has courtand asks,çr o you know w hich Judge you're
     seeing today?''The Plaintiffrespondsand says,çvudgeRodriguez-Fonts.''Then
     the Correction Officerstates,&&N o.You're going to see Judge W illiam A ltfield''.
     The Plaintiffreplies and says,tishow m e the paperw ork''.The C orrectional
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     O x cerrepliesand says,ççIdon'thave it.1'11show itto you when we getto the
     valf'.Then the Plaintiffrepliesand says,Gil'm notgoing anywheretmtillsee
     thepaperwork and thatJudgeA ltfeld isaDefendantin aFederalsuit,and l
     w on'tbe going in gontofhim ''.


  44.      On M ay 10,2018,Attom ey Zam oratellsM s.Thabettelephorlically that
     hewillhave an attorney nam ed D ennisGonzalez appearon the Plaintiff s
     behalffora ççboizd henring''in gontofJudgeRodriguez-Fontson M ay 10,
     2018.


  45.      M ay 10,2018,thePlaintiffsm otherand M s.Thabetattend thepup orted
     headng,and D ennisG onzalez never appears,and there w asno record ofthe
     Plaintiffhaving 4 hearing on M ay 10,2018.


  46.      On M ay 10,2018,D eputy ClziefAnthony W atts,on behalfofCllief
     Cornita Riley,respondsvia em ailtothePlaintiffsm otheron Thursday,M ay
      10,2018,at7:04 P.M .,stating that,LiBased on ouragency'sreview ofyour
     concerns,itwasdeterm ined theappropriate docllm entation wassubm itted by
     the arresting agency.H ow ever,atthis tim e D im itriPatterson is no longer in our
     custody andhasbeen transferredtotheM iami-DadeCountyJail''.fseeExhibit
     C)

   47.     On M ay 11,2018,M iam i-D ade County CircuitCourtJudge,O scar
     R odriguez-Fonts,conspires w ith A ttorney Zam ora and O rlando-o range Cotm ty,
     and proceedsto abusehis discretion by verbally issuing illegalbondsto the
     Plaintiffin theamotmtsoftllirty thousand ($30,000.00)dollarsandonehundred
     11ft):thousand($150,000.00)dollars,andthen dem andsthePlaintiffto
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     surrenderllis passporton abandoned Case F-17-6392.lt's to be noted that
     Rotz guez-Fontshasnojurisdiction overthePlaintiftl(SeeExhibitD)

  48.      On M ay 11,2018,Judge Rodriguez-Fontsabuseshisdiscretion by
     proceedhv to setpurported courtproceedingsand a tttrialhearing''forA ugust
     9,2018 and A ugust20,2018,forthe solepup ose ofharassing thePlaintiffwith
     fullknowledge thatCaseF-17-6392 hasbeen abandoned by the Statepursuant
     to FloridaJurisprudence 2d 1151,1163 & 1164.A purported ççplea''and iç-frial''
     date wasadded to theM iam i-D ade Clerk ofCourtsCrim inalDocketon
     06/05/2018,and setfor06/20/2018 at9:15 a.m .


  49.      On M ay 22,2018,Attom ey Zam ora em ailsthePlaintiffin regardsto
     purported courtdatesforCases8-15-34548 and F-17-3692.Attom ey Zam ora
     hasfullknowledgethatboth casesareforeclosed.fseeExhibitC)

  50.      On M ay 24,2018,thePlainti/ emailsAttorneyZamora,requestingthe
     charging docum entsforCases8-15-34548 and F-17-3692,which were never
     received.fseeExhibitC)

  51.       On M ay 24,2018,Attorney Zam ora em ailsthe Plaintiffstating thathe
     doesn'thave a charging docum entand thathehasnotseen onein relation to the
     contem ptcase.A ttom ey Zam ora continues to conspire by stating thatthe statute
     oflim itationshasnotexpired forCaseF-17-3692.Attonzey Zam ora isa board
     certifed attom ey and hasfullu owledge thatCaseF-17-3692 wasabandoned
                              l

     by theState.(SeeExhibitC)
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  52.       On M ay 30,2018,Attom ey Zam ora em ailsthePlaintiffstating that,(çlf
     you do notgo to courton 06/04/2018 before JudgeAltfeld,the courtw illissue
     awarrantforyouranvstand youwillbeheldwithoutabond''.lseeExhibitC)

  53.       On October23,2018,withoutprobable causeand asretaliation from
     Defendant,Orlando-orangeCotmty (Case6:18-CV-950-GJK),arotmd3:40PM
     afterbeing followed on the Florida StateRoad 408 and then to the RaceTrac
     gasstation onthecom erofW estColonialDrive(Highway 50)and S.Bluford
     Avenue in Ocoee,FL,DP wasaggressively approached by both an Orange
     County and O coeePoliceO o cerwith revolversaim ed directly in frontofhis
     face.lmmediately thereafter,DP wassurroundedby ten (10)OrangeCotmty
     Police Offk ers,claim ing hewastm derarrestforan outstanding warrant,which
     wasneverproducedpursuanttoFloridaRulesofProcedureandFloddaRules
     ofJudicialAdm inistration.DP iscurrently being detahzed atthe Orange County
     D epartm ent of Corrections as a hostage,forthe sole pup ose to stifle his
     pendhv casesin FederalCourt.


  54.      Forthe solepurpose ofunderm ining his federalcases,theOrange County
     Departm entofConvctionsare m aking daily attem ptsto adm inisterdeadly
     medicationtothePlaintiff andareconsistently threatening toforgehis
     signature on a w aiver and m edicaldocum entsthathe refusesto sign.W e w ould
     hateforwhatoccurred in August2015 w ith M ax Graciato occuragain,or,the
     com lption scandalthatoccurred 9om 2008-2013 tmderSheriffHutchens'
     w atch w ith the intentionally doctoring ofrecords stilloccurring.


   55.     On W ednesday,October24,2018 at12:184M ,BrendaPatterson sentan
     Em ailnotitk ation concem ing the incidentto D eputy ChiefW atts,Deputy Chief
     Quinones,M ayorTeresaJacobs,Sheriffleny Demings,M ayorCarlos
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     Gim inez,DirectorD anielJunior,and A cting AssistantAttom ey General,Jolm
     M .Gore.IseeExhibitC1

  56.      On W ednesday,October24,2018 arotm d 10:35AM ,DP,once again,
     unlawfully wentbefore the Honorable JudgeBigney who ispresently a
     Defendantin aFederallawsuit,Case 6:18-CV -950-CEM -GJK .A t1:09PM ,
     Brenda Patterson received an Em ailresponse 9om Deputy ClliefW atts
     ensuring herthatthe tm ofticialm atterconcerning DP w illberesearched and
     eitherhimselflor,DeputyChiefQuinoneswillfollow up within24 hours.Asof
     W ednesday,October24,2018,D P isbeing held in the Orange Cotmty Jail
     awaiting to be illegally extradited to M iam i-D ade County.


  57.      M iam i-D ade Correctionsand Rehabilitation Departm entillegally
     transported DP on October31,2018,and now,forthepast31 daysand
     counting,theTum erGuilfordKnightCorrectionalCenter(TGK)iscontinuing
     to illegally and tm lawfully detain DP.

  58.       OnNovember1,2018,andintheclearabsenceofjM sdiction andfor
     the sole purpose ofretaliation,DP appeared beforeJudge OscarRodriguez-
     Fontsatanon-docketed Courthearing at1035,and priorto going on record,
     Judge Rodriguez-Fontsasked DP wherew ashislegalcounsel.D P asked Judge
     Rodriguez-Fontswhy w ould heneed an attom ey foran expired case? Judge
     Rodriguez-Fonts stàted,&ç1do notwantto talk aboutdetailsofthe case''.DP
     then continued to advise JudgeRodriguez-Fontsthathe could notbe im partial,
     ashe wasalready nam ed asa Defendantin a FederalSuitthatDP had filed and
     thataH abeasCorpuswasalready sled and thatagain this casewasdischarged,
     and thatJudgeRodriguez-Fontswasconthzuing to violateDP'sCivilRights.
      fExhibitB)JudgeRodriguez-Fontsagain stated,ttl'lewasnotgoingtodiscuss
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     detailsbutw anted to know ifDP w ould getan attom ey.''DP then conthm ed by
     citing the Florida RulesofCrim inalProcedure asitapplied to the speedy trial
     rule,asw ellasciting theFlorida RulesofJudicialA dm inistration asit
     pertained to theFiling oflnform ation,and an executed AC wm ant.DP again
     advised JudgeRodriguez-FontsthatF-17016392 isan invalid and expired
     case,and thatllisobviousretaliation stem s9om an existing FederalLaw suit
     (CaseNo:6:18-CV-950-GJK).JudgeRodriguez-Fontsthenhad asidebarin
     wllich he did notentitleDP,the Pro-se,to participate 1 .DP inquired asto how
     he would stillbe rem anded whilethe Courtcontinuesto setadditionalcotu't
     dates,when pursuanttoFloridaJudsprudence2(d),1151,1153,1163,1164,
     and 1165,Case F-17016392 is invalid,expired,and discharged,and in
     addition,pursuanttoStatev.Clifton,905 So.2d 172 (Fla.DCA 2005),the
     Courtcould notcontinue to attem ptand try to hearthiscase.The Judge called
     forarecessand dism issed DP.


  59.       OnNovember5,2018 at09:47:50, intheclearabsenceofjurisdiction
     and forthe sole purpose ofprovoking contem ptchargesagainstDP,Judge
     O scarRodriguez-Fontsconducted apurported HabeasCop ushearing.


   60.      O n both N ovem ber 6,2018 and N ovem ber 16,2018,M iam i-D ade
     COO T/M DCR attem pted to illegally transportDP totheLaw son E.Thom as
     Courthouse Centerto have roguePolice Officersambush DP,in orderforthe
     Eleventh JudicialCircuitofFlorida to once again putfalsechargeson DP.


   61.      O nce again,on N ovem ber 14,2018 and in the clear absence of
     jM sdiction,JudgeRodriguez-Fontsheld apuported andnon-docketedhenring
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     forthe solepurposeto haveroguePoliceO ffcersam bush DP,in orderforthe
     Eleventh JudicialCircuitofFloridato putfalse chargeson DP.


  62.       On N ovem ber 16,2018 at9:00AM ,and in the clearabsence of
     jurisdiction,JudgeOscarRodriguez-Fontsheldanotherpurported hearing for
     the solepup ose ofconspiring with Attom ey Barry W itlin,to givean illegal
     im pression ofAttorney W itlin being DP'slegalAttorney ofRecord.Judge
     Rodriguez-Fontsthen proceeded to deny Attorney W itlin'sM otiön to
     W ithdraw,wlzich waselectrorlically fled on October27,2017.Judge
     Roddguez-Fontsthen instructed the Courtto give Attorney W itlin copiesofthe
     denied M otion to Discharger ism iss,M otion to D isqualify,and thedism issed
     W ritofHabeasCorpus. JudgeRodriguez-Fontsclosed the purported hearing
     w ith setting yetanotherpurported hearing forD ecem ber4,2018 at9:004M .


  63.        O n N ovem ber 18,2018,Bany W itlin sends an em ailto D P conflrm ing
     thathisM otion toW ithdraw wasranted on October31,2017.lseeExhibitC)


                                      CO UNT I
                          V iolation ofthe 4tbA m endm ent
                                    Pam ela Bondi


   64.        Plaintiffre-allegesand incorporate the allegationssetforth in
         paragraphs 14 - 46 & 51.


   65.        B ecause ofthe acts com m itted in paragraphs 14 - 46 & 51,
         DimitriPatterson hassuffered severeinjuriesintheform ofinternaland
         em otionaldistress,anguish,substantialdam ageto hiswell-being,
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        overwhelm ing dam ageto hisextem alreputation,and devastating dnm age to
        lzisfnm ily,personal,com m unity,civic,and businessrelationshipsin Florida,
        and elsewhere asa directand proxim ate resultoftheD efendant'sconduct,
        andheisentitledtodamagesand injtmctiverelief

                                       CO UNT 11
                            V iolation ofthe 5tEA m endm ent
                                      Pam ela B ondi


  66.         Plaintiffre-allegesand incorporatethe allegations setforth in
        paragraphs 1 - 4 & 14 - 63 in tllis C om plaint.


  67.         Plaintiffhasa constitutionalprotected rightin the Fifth
        Am endm entand isentitled to due processand to be 9ee in life,liberty and
        hzltis person.


  68.         Pam elaBondihasviolated thePlaintiffsFifth Am endm entby theact
        ofdeliberate indifference.


  69.         The Plaintiffhasno other altem ative fora rem edy.


  70.         The 51 Am endm entputs.pam ela Bondion noticethatherconduct
        would beclearly unlaw ful.


               TheconductofPam elaBondihasproven to be arbitrary and an
        intentionalobstm ction ofthe Plaintiffsproceduraldueprocesswhen
        prosecuting a state crim inalcase.
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  72.          DP hasclearly shown a substantialrisk ofharm to lzisperson.


  73.          Pam elaBondiwasm ade aware on severaloccasionsofthe
         substantialrisk ofseriousharm thatexisted.


  74.           A reasonable officialwould have been compelled to draw an
         inferencetotherisk show n and would have thoroughly investigated the civil
         rights violations w ithin em ailatzd postage notitk ations.


  75.            Because ofthe actscom m itted in paragraphs 1- 4 & 14 - 63,
         Dim itriPatterson hassufferedsevereinjuriesintheform ofinternaland
         em otionaldistress,anguish,substantialdam ageto hiswell-being,
         overwhelm ing dam age to his externalreputation,and devastating dam age to
         hisfam ily,personal,com m tmity,civic,and businessrelationslzipsin Florida,
         and elsewhere asa directand proxim ateresultofthe Defendant'sconduc'   t,
         andheisentitledto damagesandinjunctiyerelief

                                         C O U N T IH
                              V iolation of the 8tb A m endm ent
                                       Pam ela B ondi


   76.            Plaintifjre-allegesandincorporatetheallegationssetforthin
         paragraphs 1- 4 & 14 - 63 in tlzis Com plaint.


   77.            B ecause ofthe acts com m itted in paragraphs 1 - 4 & 14 - 63,
         Dimitd Patterson hassuffered severeinjuriesintheform ofinternaland
         em otionaldistress,anguish,substantialdam ageto hiswell-being,
         overwhelm ing dnm age to lzis externalreputation,and devastating dam age to
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         hisfam ily,personal,com m lmity,civic,and businessrelationshipsin Florida,
         and elsewhere asa directand proxim ate resultofthe Defendant'sconduct,
         andheisentitledtodamagesandinjtmctiverelief

                                       COU NT W
                           V iolation ofthe 13tbA m endm ent
                                     Pam ela B ondi


  78.            Plaintiffre-allegesand incorporatethe allegationssetforth in
         paragraphs 3,14,16,17,28-31,34 - 42,45 - 47 & 53 - 63 in tlzis
         Com plaint.


  79.            Because oftheactscom m itted in paragraphs3,14,16,17,28 - 31,
         34- 42,45- 47& 53- 63,DimitriPatterson hassuffered severeinjuriesin
         the form ofinternaland em otionaldistress,anguish,substantialdam age to
         ltisw ell-being,overwhelm ing dam ageto hisexternalreputation,and
         devastating dnm agetohisfnm ily,personal,com m lmity,civic,and business
         relationshipsin Florida,and elsewhere asa directand proxim ate resultofthe
         Defendant'sconduct,andheisentitled todam agesand injunctiverelief.

                                       COUN T V
                           V iolation of the 14tb A m endm ent
                                     Pam ela Bondi
   80.           Plaintiffre-allegesand incom orate the allegations setforth in
         paragraphs 1- 4 & 14 - 63 in this Com plaint.


   81.           Plaintiffhas a constitutionalprotected rightin the 14th
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        Am endm entand isentitled to dueprocessand to be 9ee in life,liberty and
        in hisperson.


  82.            Pam elaBondihasviolated the Plaintiffs 14thAm endm entby
        the actofdeliberate indifference.


  83.            TheconductofPam ela Bondihasproven to be arbitrary and an
        intentionalobstruction ofthe Plaintiffsrightto the equalproteotion ofthe
        law s.


  84.            D P has clearly show n a substantialrisk ofharm to hisperson.


  85.            Pam elaBondiwasm adeaw are on severaloccasions ofthe
        substantialrisk ofseriousharm thatexisted.


  86.            A reayonable ofscialw ould havebeen com pelled to draw an
        inference to the risk show n and w ould have thoroughly investigated the civil
        rightsviolationswithin allem ailandpostagenotifications.


  87.            B ecause ofthe acts com m itted in paragraphs 1 - 4 & 14 - 63,
        Dimitl'iPattersonhassuffered severeinjuriesintheform ofinternaland
        em otionaldistress,anguish,substantialdam age to hiswell-being,
        overwhehning dnm age to lzisexternalreputation,and devastating dam ageto
        his fam ily,personal,com m lm ity,civic,and business relationships in Florida,
        and elsew here as a directand proxim ate resultofthe D efendant's conduct,
        andheisentitledtodamagesandinjunctiverelietl
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                                       C O IJN T V l
                                   M alicious Prosecution
                                       Pam ela B ondi


  88.              Plaintiffre-allegesand incorporate the allegationssetforth irl
         paragraphs 1- 4,44 - 45,& 58 - 63.


  89.              Because ofthe actscom m itted in parav aphs 1- 4,44 - 45 & 58
         -
             63,DimitriPattersonhassuffered severeinjtuiesin theform ofinternal
         and em otionaldistress,anguish,substantialdnm age to lziswell-being,
         overwhelm ing dam agetohisexternalreputation,and devastating dam age to
         hisfam ily,personal,com m unity,civic,and businessrelationslzipsin Florida,
         and elsewhere asa directand proxim ate resultoftheD efendant's conduct,
         and heisentitledto dnmagesandinjunctiverelief.

                                         CO UN T VII
                                       A buse ofProcess
                                         Pam ela Bondi


   90.              Plaintiffre-allegesand incorpom te the allegationssetforth in
         parav aphs 1 - 4,14 - 63.

   91.              Because ofthe actscom m itted m
                                                  k paragraphs 1 4 & 14 - 63,
                                                                  -




         DimitriPatterson hassufferedsevereinjuriesintheform ofinternaland
         em otionaldistress,anguish,substantialdam ageto hiswell-being,
         overwhelm ing dam ageto llisextem alreputation,and devastating dam ageto
         hisfnm ily,personal,com m llnity,civic,and businessrelationsMpsin Florida,
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        and elsewhere asa directandproxim ate resultofthe Defendant'sconduct,
        andheisentitledto dam agesandinjunctiverelief

                                     C ountW Il
                               V iolation ofU .S.C .1986
                                    Pam ela Bondi


  92.             Plaintiffre-allegesand incorporatethe allegationssetforth in
        paragraphs9 - 15.



  93.             B ecause ofthe acts com m itted in paragraphs 9 - 15,D im itri
        Patterson hassuffered severehjtlriesintheform ofintem alandem otional
        distress,anguish,substantialdam age to hiswell-being,overwhelm ing
        dam ageto ltisextem alreputation,and devastating dai ageto hisfam ily,
        personal,com m unity,civic,and businessrelationshipsin Florida,and
        elsewhere asa directand proxim ateresultoftheD efendant's conduct,and
        heisentitledtodamagesand injunctiverelietl

                                        R EL IEF


        W HEREFORE7thePlaintifflDimitriPatterson,respectfully demandsthat
        this court:


  94.                 Plaintiffhereby requestajurytrialon al1issuesraised inthis
        Com plaint.


  95.                 Enterajudn entin favorofthePlaintiffintheamountoften
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        million (10,000,000.00)dollarspursuantto42USC 1986,28U.S.C.j 1343.

  96.               lnstim teprosecution on the Defendantnam ed irltllisCom plaint
        pursuantto 18 U .S.C.242.


  97.               Grantpermanentinjunctivereliefenjoining and restraining
        Pam elaBondi9om ptlrsuing a falseprosecution againstDim itriPatterson.
  98.               Grantinjunctivereliefdirecting PamelaBonditoorderthe
        Ttmzer Guilford K night CorrectionalCenter to im m ediately release D im itri
        JonthielPatterson on hisown recognizance.




                             V, V,'ç '
                                    D im itriPatterson
                                 3701 W ilshire B lvd #530
                                 Los M geles,CA 90010
                              Thellting83@gmail.com Email
                                    213-739-2800 Fax
                                    407-420-7734 Phone
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                                    V erilk ation

  Pursuantto28U.S.C.j 17461,DimitriPatterson,declareasfollows:
        lam aPlaintiffin the following caseand a citizen in theUrlited Statesof

        A m erica and a residentofFlorida.

        Ihave personalknow ledge ofthe factualstatem ents setforth in the

        foregoing Verôed ComplaintforDamagesandlnjunctiverelief and if
        called on to testify lwould competently testify astothem atters stated

        herem
            '

        Iverify underpenalty andperjurytmderthelawsoftheUnited Statesof
        Am erica thatthe facm alstatem entsin this Complaintconcem ing m yselfand

        theactionsofthefederalandstateoffcersnamed inthis Versed Complaint
        are true and correct.




  Executed on O ctober 19,2018.


                                                         N. N      .


                                                      D im itriPatterson
